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 1                                UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3

 4
         Sean Rodney Orth,                                    Case No. 2:17-cv-02047-JAD-BNW
 5                        Petitioner
 6             v.                                        Order Granting Unopposed Motion for an
                                                                   Extension of Time
 7 Brian Williams, et al.,
                                                                          ECF No. 61
 8                        Respondents

 9            Petitioner Sean Rodney Orth brings this 28 U.S.C. § 2254 petition for a writ of habeas
10 corpus to challenge his 2007 state-court conviction. Respondents' response to the amended

11 petition is due September 23, 2020, and they move to extend that deadline to November 23,

12 2020, because of deadlines and work in other cases.1 The motion is unopposed. Good cause

13 appearing,

14            IT IS ORDERED that the Unopposed Motion for an Extension of Time [ECF No. 61] is
15 GRANTED. The Respondents' deadline to respond to the amended petition for writ of

16 habeas corpus is extended to November 23, 2020.

17            Dated: September 18, 2020
                                                              _________________________________
18                                                            U.S. District Judge Jennifer A. Dorsey
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         ECF No. 61.
